              Case 2:13-cv-01019-JAD-EJY Document 176 Filed 08/07/19 Page 1 of 5




     1
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     2
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         Phone: (602)262-0390
     4
         Fax: (888) 477-5598
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         Mark. We sb x> oks @azbar. org
         (Admitted Pro Hac Vice)
     6   Attorney for.Robert Wiliiamson, III and Vic:ki,s Vodka, LLC

     1

                                       UNITED S'IAT'ES DIS]IRICT COUR.T
     B

                                             DISTRICT OF NEVADA
     9

         ROBERT WILLIAMSON, III an                       BASE CASE NO.:
10
                                                         2: I 3-cv-01 01 9-JAD- GWF
11
                        Piaintiff,
                                                         MEMBER CASE NO.:
I2                                                       2:1 3 -cv -02022-iAD-GWF

13
                                                         AFFIDAVIT OF MARK D. WESBROOKS
         VICTORIA 1,. GUNVALSON, an individual;
14
         DAVID BROOKS AYERS, an individuai,
15
                    Defendants.
16
         DAVID BROOKS AYERS, an individual,
I1
                       Counterclaimant,
1B

               VS.
19

2A
         ROI3ERT WII,LIAMSONI, Iil, air individual;
         CATE WAKIIN-WiLLIAMSON, an
27       individuai; and AITIGELA TORRES, an
         individual,
22

23                     Counterdefendants.

24


25
                coMll Now,           Plaintiffs Robert williamson,     III   and vicki's vodka, LLC

26       (collectively "Plaintiffs"), by and througlh undersigned counsel, and hereby request that
21
         the Court to enter a "Jadgment," by rCefault,
2B


                Motion for Default Judqment Against Defendant cougar Juice Vodka, LLC -      1
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      1
                   The following statements are made by Mark D. Wesbrooks, Esq., Counsel
                                                                                         for
      2
           Plaintiffs, and such statements are true.
      3


      4            1'     I   am the Plaintiffs'Counsel in this court case.   I understand and make     t
      5
           following statements under oath or by affirmation.
      6
                  2.      I   have read this Affidavit and to the best of my knowledge, everything
      1



     B
           have said is true.

     9            3.      on september 9,2013,     PlaLintiffs filed a complaint alleging specific ca
 10
          of action and damages against Defendant Cougar Juice Vodka, LLC ("Cougar") and pai
11

          the associated filing fee. Cougar was personally served on November 12, 2013, throug
I2

13        its registered agent, Barry Strike.
I4
                  4.     Pursuant to The Servicemembers Civil Relief Act, U.S.C. 50 App. 521
                                                                                        $
15
          Defendant Cougar is not in the military service. Further, Defendant Cougar is not a mino
15

T1        and Defendant Cougar is competent at this time.

1B
                  5.     On December 6. 2013. Plaintiffs filed their First Motion for Entry of Clerk
t9
          Default (Doc;. 8) and the Clerk entered tlhe default against Cougar on December 9,201
2O


21.       (Doc. 10). On December 13,2013, Cougar filed its Motion to Set Aside Clerk's Entry            o

22
          Default (Doi:. 11). On February 14, 2014, the Court granted Cougar's Motion to                Se
23
          Aside the Clerk's Default and ordered an Answer be filed within 10 days. (Doc.25)
24

25        Thereafter, Cougar did not file any Answer within time afforded, nor has any Answ

26
          been filed to date.
21


2B


                 Motion for Defauft Judgment Against Defendant couqar Juice vodka/ LLC -        2
               Case 2:13-cv-01019-JAD-EJY Document 176 Filed 08/07/19 Page 3 of 5




      1
                   6'      on January 7,2019, plaintiffs filed their second Motion for Entry of Cl
      2
           Default Against Defendant Cougar Juioe Vodka, LLC (Doc. 160), and
      3
                                                                             the Clerk of th

           Court entererd Default against Cougar (Doc, 161). Plaintiff s Motion for Entry
     4                                                                                    of Defaul
     5
          was served via United States Mail on the last known address of Cougar. As
                                                                                    of the date o
     6
          this filing, cougar has not piead or otherwise defended the comolaint.
     1



     B
                  I   '   Plaintiffs allegations   rnade:   by and through the Complaint should be take
     9    as true and admitted. As such, judgment should be entered on the             followins claims    a
10
          for the alleged specific sums assertecl in rpraintiff s comolaint:
11

I2
                          Plaintiffs' Complainr

                          Misrepresentations,       Fraud, Omissions:         ,,The
13
                                                                                            result of     Ithe
L4
          misrepresentation and omissions is that plaintiffs were induced to purchase the Brook
15
          interest and r:xpend funds in excess c,f $300,000.00', (page 12, g4).
I6                                                                        fl

I'1                       unjust Enrichment: "A.s a result of the actions of Defendants, and each              o

1B
          them,   in retaining all of the funds pai.d to the Defendants, the Plaintiffs            have
I9
          damaged ancl the Defendants, and ea.ch of them, have been unjustly enriched in a sum
2A


2I        excess of Ten Thousand Dollars ($1Cr,000.00)." (page 12,190).

22
                          Promissory Estoppel: "The Plaintiffs have relief upon these promises                 a
23
          made by the Defendants, and each of thern, to their detriment and has been damaeed in             a
24

25        amount in excess of Ten Thousand Dollars ($10,000.00)." (page 13,1.[94).

26
                          Civil Conspiracy:   'oAs a result of this conspiracy RW     III   has been damage
21
          in an amount in excess of ren Thousand lDollars ($10,000.00)." (page 13, lT99).
2B


                  Motion for Default Judgment Against Defendant cougar Juice vodka, LLC -            3
           ll
           II
                Case 2:13-cv-01019-JAD-EJY Document 176 Filed 08/07/19 Page 4 of 5


           tl
           rl
      1
           l,'rrn'..1
                          intentional Infliction of Eimotional Distress: "As a result of Defendants,l
           I
      2    llconduct, Plaintiff RW III has
      3
                                                    been damaged in excess of $10,000.,,(page          15,,r1T   116).
                                                                                                                                             I



      4
                   Although Plaintiffs' Complaint. alleges damages                          in   minimum sums, *lth]
                                                                                                                                             I

      5
           allegations 1.hat damages may be for higher amounts, for purposes of default judement.l
      6
           Pla.intiffs seek the minimum specific amounts alleged plus their reasonable attorney,sj
      "t



      B
           fees and costs. Such minimum sums total the sum                           of Three Hundred Forty      Thousandl

      9    Dollars   ($340,000.00).                                                                                                      I

                                                                                                                                         I


 10
                  8.     Further Affiant sayeth               not.                                                                   I

 11

                                                                                                        P.L.L.C
                                                                                                                                     I




 72
                                                                    THE WESBROOKS LAW FIRM,                                          I




13

I4                                                                  By: r4,ltW, *     /:l
                                                                         D. Wesbrool<s, Esq.
                                                                           It46rl<
                                                                                                                                     r




15
                                                                                                          PLLC
                                                                                                                                 I


                                                                           The pWesbrooks Law Firrn,                             I



I6                                                                         Attorneys for Robert Williamson  and                  I


                                                                           Vicki's Vodka, LLC
I1                                                                                                                               I




18                SUBSICRIBED AND SWOzu{ TO before me this                              0,.f   day of August,    20lg,by'
79         Affiant and rvith   a    Notary.
2A



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23                Myccmmissionexpires:



                  rcffil
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24
                               .,   EM!Ly w. rnxHolnl'
                               t\orary public, Stato of Arizona
25                                    Maricopa Countv
                                   Commission * gOabAe
                                                                             ^                                               I



                                                                                                                             I

                                  My Commission-Expiiis                                                                      '
26                                          19,2023                                                                          I

                                                                                                                             I


                                                                                                                             I
2't
                                                                                                                         I

2B

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                  Motion for Default Judgiment Against Defendant Cougar Juice Vodka, LLC - -
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                                                                                                                         I




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           Case 2:13-cv-01019-JAD-EJY Document 176 Filed 08/07/19 Page 5 of 5




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 2

 3                                   CERTIFICATE OF SERVICE
 4           I, Mark Wesbrooks, hereby certify that on August 7th, 2019, I filed through the Court’s
     ECF system and served either through the ECF system or by electronic mail the foregoing
 5   document described as: AFFIDAVIT OF MARK D. WESBROOKS, ESQ. using the Court’s
     electronic filing system. A copy of the foregoing document(s) will be served via the Court’s
 6
     electronic filing system on interested parties in this action, or by email/regular mail as follows:
 7
     2:13-cv-01019-JAD-GWF Notice has been electronically mailed to:
 8

 9
     Edward Randall Miley
     emiley@mileylaw.com
10
     Michael D. Mazur
11   complaint@mazurbrooks.com
12
     Tony L. Abbatangelo
13   LasVegasLawoffice@gmail.com
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     Regular First Class Mail, and as Indicated on same date:
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     Angela Torres
16   6715 Rim Rock Circle, Northwest
     Albuquerque, NM 87120
17

18   Michael Nicholson
     P.O. Box 32
19   Calistoga, CA 94515
20
     Cougar Juice Vodka, LLC
21   1808 Michael Way
     Calistoga, CA 94515
22
     Sweetwater Distillers, Inc.
23
     Attn: John J. Moylan
24   2985 24th Avenue
     San Francisco, CA 94132
25
     /s/Mark Wesbrooks
26

27

28

            Motion for Default Judgment Against Defendant Cougar Juice Vodka, LLC - 5
